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  U NI T E D S T A T E S DI S T RI C T C O U R T
  S O U T H E R N DI S T RI C T O F F L O RI D A



   I N R E:

   A P P L I C A TI O N O F I O V L A B S LI MI T E D
   F O R A N O R D E R U N D E R 2 8 U. S. C. § 1 7 8 2                                       Cas e N o. 1: 2 2 m c 2 0 2 0 6
   T O T A K E DI S C O V E R Y F R O M M A R K
   L E VI N



     A P P LI C A TI O N F O R A N O R D E R T O T A K E DI S C O V E R Y U N D E R 2 8 U. S. C. § 1 7 8 2
                         A N DI N C O RP O R ATE D ME M O R A N D U M OF L A W

             A p pli c a nt I O V L a bs Li mit e d ( “I O V L a bs ” or t h e “ A p pli c a nt ” ) r es p e ctf ull y s u b mits t his

  a p pli c ati o n f or a n or d er t o t a k e dis c o v er y u n d er 2 8 U. S. C. § 1 7 8 2 (t h e “ A p pli c ati o n ”) fr o m M ar k

  L e vi n. I O V L a bs r e q u ests t his r eli ef f or t h e p ur p os e of o bt ai ni n g li mit e d — b ut criti c al — dis c o v e r y

  f or us e i n r e as o n a bl y c o nt e m pl at e d pr o c e e di n gs t h at ar e e x p e ct e d t o b e c o m m e n c e d i n t h e ci vil

  c o urts of t h e N et h erl a n ds a n d/ or t h e Britis h O v ers e as T errit or y of Gi br alt ar.

                                                 P R E LI MI N A R Y S T A T E M E N T

             T his a p pli c ati o n f or dis c o v er y st e ms fr o m a dis p ut e b et w e e n I O V               L a bs a n d s e v er al

  fi n a n ci al c o ntri b ut ors w h o p ur c h as e d cr y pt o gr a p hi c t o k e ns fr o m I O V L a bs , i n cl u di n g L e vin. I n a

  s eri es of l ett ers s e nt o v er t h e c o urs e of 2 0 2 1, L e vi n, M e g al o d o n D M C C, a n d Est e b a n v a n G o or

  (c oll e cti v el y, t h e “ C o m pl ai n a nts ”) h a v e c o nfir m e d t h eir i nt e nt t o pr ess f or w ar d wit h liti g ati o n

  a g ai nst I O V L a bs u n d er a dis p ar at e sl e w of l e g al t h e ori es, r a n gi n g fr o m i d e ntit y t h eft, t o

  d ef a m ati o n, t o fr a u d, a n d all e gi n g vi ol ati o ns of ci vil a n d cri mi n al l a ws i n pl a c e i n n o f e w er t h a n

  s e v e n s e p ar at e j uris di cti o ns . At b ott o m, h o w e v er,      C o m pl ai n a nts’ all e g ati o n s aris e fr o m t h eir

  diss atisf a cti o n o v er t h e v al u e of c ert ai n cr y pt o gr a p hi c t o k e ns t h e y p ur c h as e d fr o m I O V L a bs i n

  e x c h a n g e f or e arl y fi n a n ci al c o ntri b uti o ns.



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             O v er ti m e , C o m pl ai n a nts’ missi v e s h a v e cr yst alli z e d i nt o s p e cifi c t hr e ats of liti g ati o n i n

  t h e N et h erl a n ds a n d/ or t h e Britis h O v ers e as T errit or y of Gi br alt ar. F or t h e r e as o ns s et f ort h b el o w,

  t h e C o urt s h o ul d gr a nt I O V L a bs’s a p pli c ati o n u n d er 2 8 U. S. C. § 1 7 8 2 ( “ S e cti o n 1 7 8 2 ”) s e e ki n g

  dis c o v er y fr o m L e vi n o n c ert ai n iss u es li k el y t o aris e i n t h es e f or ei g n pr o c e e di n gs.

             First , t h e A p pli c ati o n m e ets t h e st at ut or y r e q uir e m e nts s et f ort h i n S e cti o n 1 7 8 2. I O V L a bs

  s e e ks dis c o v er y fr o m L e vi n, o n w h o m I O V L a bs i nt e n ds t o s er v e wit h t h e att a c h e d s u b p o e n a w hil e

  L e vi n is p h ysi c all y pr es e nt i n t h e S o ut h er n Distri ct of Fl ori d a . (S e e E x . B (t h e “ S u b p o e n a ”).) O n c e

  s er v e d, L e vi n will h a v e b e e n “f o u n d ” wit hi n t h e Distri ct f or p ur p os es of S e cti o n 1 7 8 2. S e e, e. g. ,

  I n r e K ur b at o v a, N o. 1 8- m c - 8 1 5 5 4 ( B L O O M), 2 0 1 9 W L 2 1 8 0 7 0 4, at * 2 ( S. D. Fl a. M a y 2 0, 2 0 1 9)

  ( “[I]f a n e ntit y is p ers o n all y s er v e d wit h a s u b p o e n a w hil e p h ysi c all y pr es e nt i n t his distri ct

  ( ot h er wis e k n o w n as ‘t a g’ j uris di cti o n), t h at p ers o n is ‘f o u n d’ wit hi n t h e distri ct f or p ur p os es of §

  1 7 8 2. ”). T h e m at eri als I O V L a bs s e e ks ar e “f or us e ” i n r e as o n a bl y c o nt e m pl at e d —i n d e e d,

  t hr e at e n e d as i m mi n e nt — f or ei g n pr o c e e di n gs arisi n g o ut of t h e C o m pl ai n a nt s’ dis p ut e wit h I O V

  L a bs. A n d I O V L a bs , as a pr os p e cti v e d ef e n d a nt, is a n “i nt er est e d p ers o n ” i n t h os e re as o n a bl y

  c o nt e m pl at e d f or ei g n pr o c e e di n gs, i n w hi c h it w o ul d h a v e t h e ri g ht t o s u b mit e vi d e n c e c oll e ct e d

  t hr o u g h t his A p pli c ati o n a n d t h e S u b p o e n a.

             S e c o n d , t h e dis cr eti o n ar y f a ct ors t o b e c o nsi d er e d—t h os e s et f ort h i n t h e S u pr e m e C o urt’s

  d e cisi o n i n I nt el C or p. v. A d v a n c e d Mi cr o D e vi c es, I n c., 5 4 2 U. S. 2 4 1 ( 2 0 0 4)— w ei g h i n f a v or of

  gr a nti n g t h e A p pli c ati o n. T h e A p pli c ati o n a n d t h e S u b p o e n a s e e k e vi d e n c e f or us e i n f or ei g n

  j uris di cti o ns t h at ar e r e c e pti v e t o U. S. j u di ci al assist a n c e; t h e A p pli c ati o n is n ot a n att e m pt t o

  cir c u m v e nt f or ei g n pr o of -g at h eri n g r estri cti o ns; t h e S u b p o e n a is n ot u n d ul y b ur d e ns o m e; a n d

  b e c a us e L e vi n m a y n ot b e a p art y t o t h e c o nt e m pl at e d f or ei g n pr o c e e di n gs , it is f ar fr o m cl e ar t h at

  I O V L a bs w o ul d b e a bl e t o o bt ai n t h e e vi d e n c e s o u g ht h er e t hr o u g h t h os e pr o c e e di n gs.




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             A c c or di n gl y, t h e C o urt s h o ul d gr a nt t his A p pli c ati o n.

                                                            J U RI S DI C TI O N

             1.          T his C o urt h as s u bj e ct- m att er j uris di cti o n u n d er 2 8 U. S. C. § § 1 3 3 1 a n d 1 7 8 2( a).

                                                       R E L E V A N T P A R TI E S

             2.          T h e A p pli c a nt, I O V L a bs, is a li mit e d li a bilit y c o m p a n y i n c or p or at e d u n d er t h e

  l a ws of t h e Britis h O v ers e as T errit or y of Gi br alt ar. I O V L a bs d e v el o ps t e c h n ol o gi es d esi g n e d t o

  f a cilit at e t h e us e of bl o c k c h ai n tr a ns a cti o ns, i n cl u di n g R o ot St o c k ( or “R S K ”) , t h e first s m art-

  c o ntr a ct pl atf or m s e c ur e d b y t h e Bit c oi n n et w or k, a n d t h e R S K I nfr astr u ct ur e Fr a m e w or k O p e n

  St a n d ar d ( or “ RI F O S ”), w hi c h s u p p orts R S K us ers wit h s m ar t-c o ntr a ct li br ari es, s c al a bl e a n d hi g h -

  s p e e d tr a ns a cti o n pr o c essi n g, s e c ur e c o m m u ni c ati o n pr ot o c ols, n a mi n g a n d dir e ct or y s er vi c es, a n d

  e n cr y pt e d d at a st or a g e.

             3.          M ar k L e vi n is a citi z e n of C a n a d a a n d , o n i nf or m ati o n a n d b eli ef, a r esi d e nt of t h e

  N et h erl a n ds . L e vi n w as a n e arl y e q uit y i n v est or i n R S K L a bs Li mit e d ( “ R S K L a bs ”), a c o m p a n y

  t h at first d e v el o p e d t h e R S K pl atf or m a n d w hi c h w as a c q uir e d b y I O V L a bs i n N o v e m b er 2 0 1 8.

  I n a d diti o n t o t his e q uit y i n v est m e nt, L e vi n p ur c h as e d cr y pt o gr a p hi c t o k e ns w hi c h I O V L a bs

  iss u e d t o r ais e f u n ds f or f urt h er d e v el o p m e nt of its b usi n ess pr oj e cts, i n cl u di n g t h e R S K pl atf or m

  a n d t h e RI F O S pr ot o c ols.

             4.          M e g al o d o n D M C C ( “ M e g al o d o n ”) is a c o m p a n y r e gist er e d wit h t h e D u b ai M ulti

  C o m m o diti es C e ntr e a n d t h e s u c c ess or -i n-i nt er est t o M e g al o d o n C a pit al             M a n a g e m e nt B. V.

  ( “ M e g al o d o n C a pit al ”), a si n c e- diss ol v e d D ut c h e ntit y t h at, li k e L e vi n, p ur c h as e d cr y pt o gr a p hi c

  t o k e ns as p art of a c a pit al f u n dr aisi n g i niti ati v e f or I O V L a bs.

             5.          Est e b a n v a n G o or is a citi z e n of t h e N et h erl a n ds a n d t h e M a n a gi n g P art n er a n d

  O w n er of M e g al o d o n.




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             6.         L e vi n,     M e g al o d o n, a n d v a n       G o or    (c oll e cti v el y , t h e “ C o m pl ai n a nts ”) h a v e,

  i n di vi d u all y a n d t hr o u g h c o u ns el, s e nt s e v er al r o u n ds of c orr es p o n d e n c e t hr e at e ni n g t o c o m m e n c e

  liti g ati o n a g ai nst I O V L a bs i n t h e N et h erl a n ds a n d/ or t h e Britis h O v ers e as T errit or y of Gi br alt ar.

                                                    F A CT U AL B A C K G R O U N D

             7.         T h e i d e a b e hi n d R S K — I O V L a bs’ pr o pri et ar y s m art-c o ntr a ct pl atf or m — w as first

  c o n c ei v e d i n 2 0 1 5. R S K w as first pr o m ot e d t o t h e p u bli c i n a w hit e p a p er r el e as e d i n N o v e m b er

  of t h at y e ar.

             8.         I n e arl y 2 0 1 6, a gr o u p of si x f o u n d ers l a u n c h e d R S K L a bs, a c o m p a n y i n c or p or at e d

  i n t h e Britis h Vir gi n Isl a n ds, f or t h e p ur p os e of r aisi n g c a pit al t o d e v el o p t h e R S K pl atf or m. Wit hi n

  m o nt hs, R S K L a bs h a d cl os e d its first r o u n d of i n v est m e nt, r aisi n g U S $ 1 milli o n.

             9.         L e vi n w as a n e arl y e q ui t y i n v est or i n R S K L a bs, i n v esti n g 2 2. 0 7 6 1 bit c oi n u n d er a

  S eri es S e e d Pr ef err e d S h ar e P ur c h as e A gr e e m e nt (t h e “ S P A ”) d at e d M ar c h 2 3, 2 0 1 7.

             1 0.       I n D e c e m b er 2 0 1 7, t h e f o u n d ers of R S K L a bs i n c or p or at e d I O V L a bs i n Gi br alt ar ,

  s e e ki n g t o e x p a n d t h e off eri n gs a v ail a bl e t o R S K us ers a n d r ais e a d diti o n al fi n a n ci n g f or t h at

  p ur p os e.

             1 1.       I n M a y 2 0 1 8, L e vi n a n d M e g al o d o n e nt er e d i nt o E arl y C o ntri b uti o n A gr e e m e nts

  ( “ E C As ”) wit h I O V L a bs as p art of a f u n dr aisi n g c a m p ai g n d esi g n e d t o fi n a n c e t h e d e v el o p m e nt

  of t h e RI F O S pr ot o c ols. U n d er t h e E C As, L e vi n a n d M e g al o d o n C a pit al p ai d I O V L a bs 4 0 0 a n d

  3 0 0 bit c oi n, r es p e cti v el y, i n e x c h a n g e f or cr y pt o gr a p hi c t o k e ns (t h e “ RI F T o k e ns ”) iss u e d b y I O V

  L a bs. B y t h eir e x pr ess t er ms, t h e E C As ar e g o v er n e d b y Gi br alt ar l a w.

             1 2.       O n or ar o u n d J ul y 1 9 – 2 0, 2 0 1 8, L e vi n a n d M e g al o d o n C a pit al p ur p ort e d t o tr a nsf er

  t h eir RI F T o k e ns a n d assi g n t h e ass o ci at e d ri g hts t o M e g al o d o n              u n d er a p air of Tr a nsf er &

  Assi g n m e nt A gr e e m e nts (t h e “ T & As ”). T hr e e m o nt hs l at er, M e g al o d o n C a pit al w as diss ol v e d.




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             1 3.       I n N o v e m b er 2 0 1 8, I O V L a bs a c q uir e d R S K L a bs a n d t w o affili at e d e ntiti es, S m art

  L a bs S. A. a n d C a ct us T e c h n ol o gi es L L P, fr o m R S K’s s h ar e h ol d ers, i n cl u di n g L e vi n.

             1 4.       O n F e br u ar y 1 8, 2 0 2 1, M e g al o d o n s e nt a l ett er o n b e h alf of t h e C o m pl ai n a nts t o

  m or e t h a n 1 0 diff er e nt offi c ers, e m pl o y e es, a n d a g e nts of I O V L a bs (t h e “ F e br u ar y 1 8 L ett er ”). A

  tr u e a n d c orr e ct c o p y of t h e F e br u ar y 1 8 L ett er is att a c h e d as E x hi bit 1 t o t h e a c c o m p a n yi n g

  D e cl ar ati o n of Al ej a n dr o    A b er g C o b o (S e e E x. A ( t h e “A b er g C o b o D e cl ar ati o n ”) ).

             1 5.       O v er t h e c o urs e of 8 1 r a m bli n g p a g es,           M e g al o d o n all e g e d — al b eit wit h s c a nt

  f a ct u al d et ail— t h at I O V L a bs h a d, a m o n g ot h er t hi n gs:

                        a. v i ol at e d u ns p e cifi e d “ S e c uriti es L a w [s], “ M o n e y L a u n d eri n g L a w [s], ” a n d
                           “ Wir e Fr a u d L a w[s] ”;
                        b. c o m mitt e d “I nsi d er Tr a di n g ” a n d “I d e ntit y T h eft ” ;
                        c. i n c urr e d li a bilit y f or “ U nj ust E nri c h m e nt, ” “ Sl a n d er a n d D ef a m ati o n, ” a n d
                           “ U nf air B usi n ess Pr a cti c es ” ;
                        d. p er p etr at e d a n “I nt er n ati o n al Fr a u d S c h e m e ”; a n d
                        e. e n g a g e d i n c o n d u ct vi ol ati n g o v er 3 0 diff er e nt l a ws or r e g ul ati o ns i n pl a c e i n
                           t h e E ur o p e a n U ni o n, t h e U nit e d Ki n g d o m, t h e N et h erl a n ds, Gi br alt ar, t h e
                           U nit e d St at es, a n d T ur k e y.

             1 6.       C o u ns el f or I O V L a bs r es p o n d e d t o M e g al o d o n o n M ar c h 4, 2 0 2 1, r e q u esti n g m or e

  s p e cifi cs a b o ut t h e wil d all e g ati o ns m a d e i n t h e F e br u ar y 1 8 L ett er.             On     M ar c h 1 6, 2 0 2 1,

  M e g al o d o n r epli e d (t h e “ M ar c h 1 6 L ett er ”). A tr u e a n d c orr e ct c o p y of t h e M ar c h 1 6 L ett er is

  att a c h e d as E x hi bit 2 t o t h e A b er g C o b o D e cl ar ati o n.

             1 7.       A m o n g ot h er t hi n gs, t h e M ar c h 1 6 L ett er s p e cifi e d t h e N et h erl a n ds a n d Gi br alt ar

  as j uris di cti o ns i n w hi c h t h e C o m pl ai n a nts i nt e n de d t o i niti at e l e g al pr o c e e di n gs.

             1 8.       M e g al o d o n r eit er at e d t h at p ositi o n i n a n ot h er l ett er d at e d A pril 2 2, 2 0 2 1, i n w hi c h

  it a g ai n i d e ntifi e d t h e N et h erl a n ds a n d Gi br alt ar as t ar g et j uris di cti o ns f or s e e ki n g l e g al r e c o urs e

  fr o m I O V L a bs (t h e “ A pril 2 2 L ett er ”). A tr u e a n d c orr e ct c o p y of t h e A pril 2 2 L ett er is att a c h e d

  as E x hi bit 3 t o t h e A b er g C o b o D e cl ar ati o n.


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             1 9.       O n S e pt e m b er 1 0, 2 0 2 1, c o u ns el f or t h e C o m pl ai n a nts s e nt I O V L a bs ( a n d ot h ers)

  y et a n ot h er l ett er, w hi c h e x p o u n d e d u p o n t h e p ur p ort e d b asis f or t h e C o m pl ai n a nts’ c o nt e m pl at e d

  cl ai ms (t h e “ S e pt e m b er 1 0 L ett er ”). A tr u e a n d c orr e ct c o p y of t h e S e pt e m b er 1 0 L ett er is att a c h e d

  as E x hi bit 4 t o t h e A b er g C o b o D e cl ar ati o n.

             2 0.       I n t h e S e pt e m b er 1 0 L ett er, c o u ns el f or t h e C o m pl ai n a nts all e g e d t h at I O V L a bs

  us e d t h e c a pit al r ais e d t hr o u g h t h e s al e of t h e RI F T o k e ns — i n cl u di n g t h os e ori gi n all y s ol d t o L e vi n

  a n d M e g al o d o n C a pit al — f or p ur p os es i n c o nsist e nt wit h t h e t er ms of t h e E C As. Sp e cifi c all y, t h e

  S e pt e m b er 1 0 L ett er ass ert e d t h at, r at h er t h a n usi n g t h e f u n ds r ais e d t hr o u g h t h e s al e of t h e RI F

  T o k e ns “ o n r es e ar c hi n g, d e v el o pi n g a n d pr o m oti n g t h e RI F O S Pr ot o c ols, ” I O V L a bs us e d t h os e

  f u n ds i nst e a d o n a s eri es of u nr el at e d a n d u n a ut h ori z e d pr oj e cts.

             2 1.       I O V L a bs c at e g ori c all y r ej e cts t h e all e g ati o n t h at it h as vi ol at e d t h e t er ms of t h e

  E C As or mis us e d c o ntri b ut or f u n ds i n a n y w a y. Alt h o u g h I O V L a bs h as m a d e v ari o us g o o d -f ait h

  eff orts t o dis s u a d e M e g al o d o n fr o m pr o c e e di n g wit h its t hr e at e n e d cl ai ms, o n O ct o b er 2 8, 2 0 2 1,

  M e g al o d o n’s att or n e ys s e nt I O V L a bs f or m al n oti c e “t o i nf or m [I O V L a bs] t h at o ur cli e nts h a v e

  n o w d e ci d e d t o pr o c e e d t o p urs u e t h eir cl ai ms. ”

                                                        R E LI E F R E Q U E S T E D

             2 2.       I n li g ht of M e g al o d o n’s n oti c e a n n o u n ci n g its d e cisi o n t o pr o c e e d wit h its ill -

  a d vis e d cl ai ms , I O V L a bs n o w r e q u ests p er missi o n t o g at h er e vi d e n c e fr o m L e vi n t o d ef e n d its elf

  a g ai nst t h e f or ei g n pr o c e e di n gs t h at L e vi n a n d t h e ot h er C o m pl ai n a nt s i nt e n d t o c o m m e n c e. T hes e

  c o nt e m pl at e d f or ei g n pr o c e e di n gs i n cl u d e p ot e nti al ci vil pr o c e e di n gs i n t h e c o urts of t h e

  N et h erl a n ds a n d/ or t h e Britis h O v ers e as T errit or y of Gi br alt ar.

             2 3.       I n s u p p ort of t h es e pr o c e e di n gs, I O V L a bs s e e ks p er missi o n t o iss u e t h e att a c h e d

  S u b p o e n a f or d o c u m e nts a n d t esti m o n y u p o n L e vi n w hil e h e is p h ysi c all y pr es e nt i n t his Distri ct.




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                                                    ME M O R A N D U M OF L A W

             T o o bt ai n dis c o v er y u n d er S e cti o n 1 7 8 2, a n a p pli c a nt m ust s atisf y t w o s ets of crit eri a. First,

  t h e a p pli c a nt m ust m e et t h e r e q uir e m e nts of t h e st at ut e its elf, w hi c h all o ws f or dis c o v er y b y a n

  “i nt er est e d p ers o n ” i n “t h e distri ct i n w hi c h [t h e dis c o v er y t ar g et] r esi d es or is f o u n d . . . f or us e i n

  a pr o c e e di n g i n a f or ei g n or i nt er n ati o n al tri b u n al. ” 2 8 U. S. C. § 1 7 8 2( a). S e c o n d, t h e c o urt, i n its

  e x er cis e of dis cr eti o n, m ust fi n d t h at gr a nti n g dis c o v er y w o ul d b e a p pr o pri at e i n vi e w of c ert ai n

  f a ct ors pr es crib e d b y t h e S u pr e m e C o urt . S e e C o ns or ci o E c u at ori a n o d e T el e c o m u ni c a ci o n es S. A.

  v. J A S F or w ar di n g ( U S A), I n c. , 7 4 7 F. 3 d 1 2 6 2, 1 2 7 1 ( 1 1t h Cir. 2 0 1 4); I nt el, 5 4 2 U. S. at 2 6 4 – 6 5.

             T h e t wi n g o als of S e cti o n 1 7 8 2 ar e “ pr o vi di n g effi ci e nt assist a n c e t o p arti ci p a nts i n

  i nt er n ati o n al liti g ati o n a n d e n c o ur a gi n g f or ei g n c o u ntri es b y e x a m pl e t o pr o vi d e si mil ar assist a n c e

  t o U. S. c o urts. ” I nt el, 5 4 2 U. S. at 2 5 2; s e e als o, e. g., I n r e Pi m e nt a, 9 4 2 F. S u p p. 2 d 1 2 8 2, 1 2 8 9

  ( S. D. Fl a. 2 0 1 3) (fi n di n g t h e gr a nti n g of a S e cti o n 1 7 8 2 a p pli c ati o n f or dis c o v er y i n ai d of a

  Br a zili a n pr o b at e pr o c e e di n g “s er v es t o s u p p ort t h e t wi n ai ms of t h e st at ut e ”). T o t h at e n d, as t h e

  El e v e nt h Cir c uit e m p h asi z e d i n C o ns or ci o E c u at ori a n o , “[t] h e hist or y of S e cti o n 1 7 8 2 r e v e als

  C o n gr ess’ wis h t o str e n gt h e n t h e p o w er of distri ct c o urts t o r es p o n d t o r e q u ests f or i nt er n ati o n al

  assist a n c e. ” 7 4 7 F. 3 d at 1 2 6 9 ( q u oti n g L o K a C h u n v. L o T o , 8 5 8 F. 2 d 1 5 6 4, 1 5 6 5 ( 1 1t h Cir. 1 9 8 8)).

  I n d e e d, “t h e st at ut e h as, o v er t h e y e ars, b e e n gi v e n i n cr e asi n gl y br o a d a p pli c a bilit y. ” Br a n di-

  D o hr n v. I K B D e uts c h e I n d ustri e b a n k A G , 6 7 3 F. 3 d 7 6, 8 0 ( 2 d Cir. 2 0 1 2) ( cit ati o ns a n d q u ot ati o n

  m ar ks o mitt e d).

             B e c a us e I O V L a bs s atisfi es b ot h s ets of crit eri a, t h e C o urt s h o ul d gr a nt t h e A p pli c ati o n .

  I.         T h e A p pli c ati o n m e ets t h e st at ut o r y p r e r e q uisit es f o r r eli ef u n d e r S e cti o n 1 7 8 2 .

             S e cti o n 1 7 8 2 a ut h ori z es dis c o v er y b y liti g a nts or ot h er “i nt er est e d p ers o ns ” i n pr o c e e di n gs

  b ef or e f or ei g n a n d i nt er n ati o n al tri b u n als. It pr o vi d es:




                                                                          7
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                        T h e distri c t c o urt of t h e distri ct i n w hi c h a p ers o n r esi d es or is f o u n d
                        m a y or d er hi m t o gi v e his t esti m o n y or st at e m e nt or t o pr o d u c e a
                        d o c u m e nt or ot h er t hi n g f or us e i n a pr o c e e di n g i n a f or ei g n or
                        i nt er n ati o n al tri b u n al . . . T h e or d er m a y b e m a d e p urs u a nt t o a l ett er
                        r o g at or y iss u e d, or r e q u est m a d e, b y a f or ei g n or i nt er n ati o n al
                        tri b u n al or u p o n t h e a p pli c ati o n of a n y i nt er est e d p ers o n a n d m a y
                        dir e ct t h at t h e t esti m o n y or st at e m e nt b e gi v e n, or t h e d o c u m e nt or
                        ot h er t hi n g b e pr o d u c e d, b ef or e a p er s o n a p p oi nt e d b y t h e c o urt.

                        2 8 U. S. C. § 1 7 8 2( a).

  S e cti o n 1 7 8 2 t h us h as f o ur t hr es h ol d r e q uir e m e nts t h at m ust b e m et b ef or e a distri ct c o urt is

  a ut h ori z e d t o gr a nt a n a p pli c ati o n f or dis c o v er y u n d er t h at st at ut e:

                   •    th e r e q u est m ust b e m a d e “ b y a f or ei g n or i nt er n ati o n al tri b u n al, ” or b y “ a n y
                        i nt er est e d p ers o n ” i n c o n n e cti o n wit h a p e n di n g or r e as o n a bl y c o nt e m pl at e d
                        pr o c e e di n g b ef or e s u c h a tri b u n al;
                   •    t h e r e q u est m ust s e e k e vi d e n c e i n t h e f or m of t h e “t esti m o n y or st at em e nt ” of a
                        p ers o n a n d/ or t h e pr o d u cti o n of “ d o c u m e nt[s] ” or “ ot h er t hi n g[s] ”;
                   •    t h e e vi d e n c e m ust b e “f or us e ” i n t h e f or ei g n pr o c e e di n g; a n d
                   •    t h e p ers o n fr o m w h o m dis c o v er y is s o u g ht m ust “r esi d e[] ” or b e “f o u n d ” wit hi n t h e
                        distri ct w h er e t h e r eli ef is s o u g ht.

  S e e C o ns or ci o E c u at ori a n o , 7 4 7 F. 3 d at 1 2 6 9.

             T h e A p pli c ati o n s atisfi es all f o ur t hr es h ol d r e q uir e m e nts.

             First , as a pr os p e cti v e liti g a nt i n t h e pr o c e e di n gs wit h w hi c h L e vi n a n d t h e ot h er

  C o m pl ai n a nt s h a v e t hr e at e n e d it, I O V L a bs is n e c ess aril y a n “i nt er est e d p ers o n ” wit hi n t h e

  m e a ni n g of t h e st at ut e. S e e I nt el , 5 4 2 U. S. at 2 5 6 ( n oti n g t h at “ liti g a nts ar e i n cl u d e d a m o n g, a n d

  m a y b e t h e m ost c o m m o n e x a m pl e of, t h e “i nt er est e d p ers o n[s] ” w h o m a y i n v o k e § 1 7 8 2 ”).

             S e c o n d , t h e A p pli c ati o n s e e ks e vi d e n c e, w hi c h h as b e e n d efi n e d i n t h e c o nt e xt of S e cti o n

  1 7 8 2 as t h e “‘t esti m o n y or st at e m e nt’ of a p ers o n or t h e pr o d u cti o n of ‘ a d o c u m e nt or ot h er t hi n g.’ ”

  C o ns or ci o E c u at ori a n o , 7 4 7 F. 3 d at 1 2 6 9. S p e cifi c all y, t h e A p pli c ati o n s e e ks b ot h a d e p ositi o n

  a n d c ert ai n c at e g ori es of r el e v a nt d o c u m e nts fr o m L e vi n t h at I O V L a bs will us e as e vi d e n c e t o

  d ef e n d its elf i n t h e f or ei g n pr o c e e di n gs.


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             T hir d , t h e e vi d e n c e is “f or us e i n a pr o c e e di n g i n a f or ei g n . . . tri b u n al. ” T h e “f or us e ”

  r e q uir e m e nt i m p os es a d e mi ni mis b ur d e n o n t h e a p pli c a nt t o s h o w t h at t h e r e q u est e d dis c o v er y

  h as s o m e r el e v a n c e t o t h e f or ei g n pr o c e e di n gs. S e e I n r e A p pli c ati o n P urs u a nt t o 2 8 U. S. C. S e cti o n

  1 7 8 2 f or a n Or d ers P er mitti n g C hrist e n S v e a as t o T a k e Dis c o v er y fr o m D o mi ni q u e L e v y, L & M

  G all eri es , 2 4 9 F. R. D. 9 6, 1 0 7 ( S. D. N. Y. 2 0 0 8) ( e x pl ai ni n g t h at st a n d ar d f or r el e v a n c e is “ br o a dl y

  p er missi v e ”). I O V L a bs will us e t h e e vi d e n c e s o u g ht t hr o u g h t his A p pli c ati o n i n t h e f or ei g n

  pr o c e e di n gs. As t h e S u b p o e n a m a k es cl e ar ( a n d as dis c uss e d f urt h er b el o w), t h e e vi d e n c e I O V

  L a bs s e e ks is r el e v a nt t o d ef e ns es it m a y ass ert i n t h e c o nt e m pl at e d f or ei g n pr o c e e di n gs.

             T h at t h e f or ei g n pr o c e e di n gs ar e n ot y et p e n di n g d o es n ot alt er t his a n al ysis. F or ei g n

  pr o c e e di n gs t h at ar e “ wit hi n r e as o n a bl e c o nt e m pl ati o n ” c a n b e t h e b asis f or a S e cti o n 1 7 8 2

  a p pli c ati o n w h er e t h er e ar e “r eli a bl e i n di c ati o ns of t h e li k eli h o o d t h at pr o c e e di n gs will b e

  i nstit ut e d wit hi n a r e as o n a bl e ti m e. ” C o ns or ci o E c u at ori a n o , 7 4 7 F. 3 d at 1 2 7 0. O n m ulti pl e

  o c c asi o ns o v er t h e b ett er p art of a y e ar, t h e C o m pl ai n a nts h a v e t hr e at e n e d I O V L a bs wit h ci vil

  pr o c e e di n gs i n o n e or s e v er al f or ei g n j uris di cti o ns . (S e e A b er g C o b o D e cl. E xs. 2, 3 .) A n d i n t h e

  m ost r e c e nt c orr es p o n d e n c e b et w e e n t h e dis p uti n g p arti es, c o u ns el f or C o m pl ai n a nts f or m all y

  n otifi e d c o u ns el f or I O V L a bs t h at t h e C o m pl ai n a nts “ h a v e n o w d e ci d e d t o pr o c e e d t o p urs u e t h eir

  cl ai ms ” a g ai nst I O V L a bs .

             F o urt h , o n c e s er v e d wit h t h e S u b p o e n a i n t his Distri ct, L e vi n will h a v e b e e n “f o u n d ” h er e

  wit hi n t h e m e a ni n g of S e cti o n 1 7 8 2. C o urts wit hi n t his Distri ct a n d els e w h er e h a v e h el d t h at “ if

  a n e ntit y is p ers o n all y s er v e d wit h a s u b p o e n a w hil e p h ysi c all y pr es e nt i n [t h e] distri ct ( ot h er wi s e

  k n o w n as ‘t a g’ j uris di cti o n), t h at p ers o n is ‘f o u n d’ wit hi n t h e distri ct f or p ur p os es of § 1 7 8 2. ”

  K ur b at o v a , 2 0 1 9 W L 2 1 8 0 7 0 4, at * 2; s e e als o I n r e E d el m a n , 2 9 5 F. 3 d 1 7 1, 1 7 9 ( 2 d Cir. 2 0 0 2)

  (r e as o ni n g t h at “th e q u esti o n of w h at it m e a ns t o b e f o u n d i n a p arti c ul ar l o c al e is alr e a d y t h e




                                                                         9
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   s u bj e ct of w ell -s ettl e d c as e l a w o n t errit ori al j uris di cti o n , ” w hi c h “ a ut h ori z e [s] t h e e x er cis e of

   p ers o n al j uris di cti o n b as e d o n n ot hi n g m or e t h a n p h ysi c al pr es e n c e, ” a n d h ol di n g t h at b e c a us e “s o -

   c all e d t a g j uris di cti o n is c o nsist e nt wit h d u e pr o c ess . . . § 1 7 8 2( a), w hi c h is si m pl y a dis c o v er y

   m e c h a nis m a n d d o es n ot s u bj e ct a p ers o n t o li a bilit y ” r e q uir es n o m or e) (i nt er n al cit ati o ns o mitt e d).

   II.        T h e dis c r eti o n a r y I nt el f a ct o rs w ei g h i n f a v o r of g r a nti n g r eli ef u n d e r S e cti o n 1 7 8 2.

              I n d e ci di n g w h et h er t o e x er cis e its dis cr eti o n t o p er mit t h e S e cti o n 1 7 8 2 dis c o v er y, t h e

   C o urt s h o ul d c o nsi d er t h e f oll o wi n g f a ct ors: ( 1) w h et h er “t h e p ers o n fr o m w h o m               dis c o v er y is

   s o u g ht is a p arti ci p a nt i n t h e f or ei g n pr o c e e di n g ” ; ( 2) “t h e n at ur e of t h e f or ei g n tri b u n al, t h e

   c h ar a ct er of t h e pr o c e e di n gs u n d er w a y a br o a d, a n d t h e r e c e pti vit y of t h e f or ei g n g o v er n m e nt or

   t h e c o urt or a g e n c y a br o a d t o U. S. f e d er al-c o urt j u di ci al assist a n c e ” ; ( 3) w h et h er t h e r e q u est is “ a n

   att e m pt t o cir c u m v e nt f or ei g n pr o of -g at h eri n g r estri cti o ns or ot h er p oli ci es of a f or ei g n c o u ntr y or

   t h e U nit e d St at es ”; a n d ( 4) w h et h er t h e dis c o v er y is “ u n d ul y i ntr usi v e or b ur d e ns o m e. ” I nt el, 5 4 2

   U. S. at 2 6 4 – 6 5. T h es e f a ct ors s u p p ort gr a nti n g t h e A p pli c ati o n.

              1. B e c a us e h e assi g n e d his RI F T o k e ns a n d t h e ass o ci at e d ri g hts t o M e g al o d o n, it is
                 n ot cl e ar t h at L e vi n will b e a p art y t o t h e c o nt e m pl at e d pr o c e e di n gs , a n d t h us
                 u n c ert ai n w h et h er I O V L a bs will b e a bl e t o o bt ai n t hr o u g h t h os e pr o c e e di n gs t h e
                 s a m e e vi d e n c e s o u g ht h er e.

              T h e first I nt el f a ct or l o o ks t o w h et h er “t h e p ers o n fr o m w h o m dis c o v er y is s o u g ht is a

   p arti ci p a nt i n t h e f or ei g n pr o c e e di n g. ” T h e S u pr e m e C o urt h as e x pl ai n e d t h at w h e n t h e dis c o v er y

   t ar g et is a p arti ci p a nt i n t h e f or ei g n pr o c e e di n g, “t h e n e e d f or § 1 7 8 2 ai d is g e n er all y n ot as

   a p p ar e nt as it or di n aril y is w h e n e vi d e n c e is s o u g ht fr o m a n o n p arti ci p a nt i n t h e m att er arisi n g

   a br o a d ” b e c a us e “[ a] f or ei g n tri b u n al h as j uris di cti o n o v er t h os e a p p e ari n g b ef or e it, a n d c a n its elf

   or d er t h e m t o pr o d u c e e vi d e n c e. ” I d. at 2 6 4 ( e m p h asis a d d e d).

              T o b e gi n wit h, it is f ar fr o m cl e ar t h at L e vi n will b e a p art y i n t h e c o nt e m pl at e d f or ei g n

   pr o c e e di n gs. Alt h o u g h t h e C o m pl ai n a nts’ str e a m of t hr e ats a n d d e m a n ds r e p e at e dl y lists L e vi n as



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   a “ cl ai m a nt, ” L e vi n tr a nsf err e d all of his RI F T o k e ns a n d t h e ass o ci at e d ri g hts t o M e g al o d o n

   t hr o u g h a Tr a nsf er & A ssi g n m e nt A gr e e m e nt. A c c or di n gl y, t h er e is n o g u ar a nt e e t h at L e vi n will —

   or, i n d e e d, e v e n c o ul d — i niti at e a l e g al pr o c e e di n g i n a n y of t h e t hr e at e n e d j uris di cti o ns t o

   vi n di c at e ri g hts t h at h e h as assi g n e d t o a n ot h er p art y. T o t h e e xt e nt t h at L e vi n m a y n ot b e a p art y

   t o a n y of t h e c o nt e m pl at e d f or ei g n pr o c e e di n gs, t his f a ct or w ei g hs i n f a v or of gr a nti n g t h e

   A p pli c ati o n.

              I n a d diti o n, b ei n g a p arti ci p a nt i n a p e n di n g or c o nt e m pl at e d f or ei g n pr o c e e di n g is n ot

   dis p ositi v e, a n d f e d er al c o urts oft e n or d er S e cti o n 1 7 8 2 dis c o v er y fr o m p arti es w h o ar e dir e ctl y

   i n v ol v e d i n f or ei g n pr o c e e di n gs w h e n t h er e is d o u bt a b o ut w h et h er t h e r e q u est e d m at eri al is

   o bt ai n a bl e t hr o u g h t h at pr o c e e di n g. S e e, e. g., I n r e A p pli c ati o n of Pr o ct er & G a m bl e C o. , 3 3 4 F.

   S u p p. 2 d 1 1 1 2, 1 1 1 4 ( E. D. Wis. 2 0 0 4) ( gr a nti n g a p pli c ati o n e v e n t h o u g h a p pli c a nt a n d r es p o n d e nt

   w er e b ot h p arti es t o f or ei g n pr o c e e di n gs b e c a us e it w as “ u n cl e ar w h et h er [t h e a p pli c a nt] c o ul d

   o bt ai n dis c o v er y i n [t h e f or ei g n pr o c e e di n g] i n ti m e t o us e it ”); I n r e A p pli c ati o n of C arst e n R e h d er

   S c hiffs m a kl er U n d R e e d er ei G m b h & C o. , N o. 6: 0 8-m c - 1 0 8 ( O R L), 2 0 0 8                   W L 4 6 4 2 3 7 8, at * 2

   ( M. D. Fl a. O ct. 1 7, 2 0 0 8) ( gr a nti n g a p pli c ati o n w h er e a p pli c a nt a n d r es p o n d e nt w er e b ot h p arti es

   t o f or ei g n pr o c e e di n gs b e c a us e “ C hi n a’s r ul es r el ati n g t o dis c o v er y ar e n ot c o m p ar a bl e t o o ur o w n

   a n d . . . o bt ai ni n g t h e i nf or m ati o n wit h o ut t his C o urt’s assist a n c e is b y n o m e a ns ass ur e d ”); I n r e

   L ett er R e q u est fr o m Dist. Ct. St ar a L u b o v n a , N o. 3: 0 9-m c - 2 0 3 4 ( M C R), 2 0 0 9 W L 3 7 1 1 9 2 4, at * 2

   ( M. D. Fl a. N o v. 5, 2 0 0 9) (fi n di n g t h at first I nt el f a ct or w ei g h e d i n f a v or of a p pli c a nt, e v e n t h o u g h

   r es p o n d e nt w as a p art y t o f or ei g n pr o c e e di n g, b e c a us e r es p o n d e nt h a d l eft f or ei g n c o urt’s

   j uris di cti o n, m a ki n g it u nli k el y t h at f or ei g n c o urt c o ul d c o m p el hi m t o pr o d u c e dis c o v er y).




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               2. T h e f or ei g n pr o c e e di n gs ar e c o nt e m pl at e d i n o n e or m or e j uris di cti o ns t h at ar e
                  r e c e pti v e t o U. S. j u di ci al assist a n c e.

               T h e r e c e pti vit y of f or ei g n pr o c e e di n gs t o U. S. j u di ci al assist a n c e w ei g hs i n f a v or of

   p er mitti n g dis c o v er y u n d er S e cti o n 1 7 8 2 u nl ess t h er e is “ a ut h orit ati v e pr o of t h at a f or ei g n tri b u n al

   w o ul d r ej e ct e vi d e n c e o bt ai n e d wit h t h e ai d of § 1 7 8 2. ” I n r e A p pli c ati o n of M T S B a n k , N o. 1 7-

   m c - 2 1 5 4 5 ( WI L LI A M S), 2 0 1 7 W L 3 2 7 6 8 7 9, at * 8 ( S. D. Fl a. A u g. 1, 2 0 1 7) ( e m p h asis i n ori gi n al).

               T h er e is n o s u c h pr o of t h at w o ul d j ustif y d e n yi n g t h e A p pli c ati o n. T o t h e c o ntr ar y, t h e

   C o m pl ai n a nts h a v e o n m ulti pl e o c c asi o ns i d e ntifi e d t h e N et h erl a n ds as t h eir “first o pti o n ” ( s e e

   A b er g C o b o D e cl. E x. 2 at 2 ), a n d t h at c o u ntr y h as b e e n r e c o g ni z e d b y ot h er distri ct c o urts as

   r e c e pti v e t o e vi d e n c e o bt ai n e d t hr o u g h S e cti o n 1 7 8 2. S e e, e. g. , I n r e St ati, N o. 1 5- m c - 9 1 0 5 9 ( L T S),

   2018       W L 4 7 4 9 9 9, at * 7 ( D. M ass. J a n 1 8, 2 0 1 8) ( “[ T] h er e is littl e r e as o n t o s us p e ct t h at t h e

   S w e dis h, N et h erl a n ds, or B el gi a n tri b u n als w o ul d n ot b e r e c e pti v e t o t h e dis c o v er e d e vi d e n c e. ”). 1

               3. T h e A p pli c ati o n is n ot a n att e m pt t o cir c u m v e nt f or ei g n pr o of -g at h eri n g r estri cti o ns.

               I n ass essi n g t his f a ct or, “ c o urts n e e d n ot d et er mi n e if a n a p pli c a nt h as e x h a ust e d its

   dis c o v er y att e m pts a br o a d, ” a n d “t h e f a ct t h at a § 1 7 8 2 a p pli c ati o n r e q u ests d o c u m e nts t h at w o ul d

   n ot b e dis c o v er a bl e b y t h e f or ei g n c o urt if t h os e d o c u m e nts w er e l o c at e d i n t h e f or ei g n j uris di cti o n

   is n ot e n o u g h t o r e n d er t h e a p pli c ati o n a ‘ cir c u m v e nti o n’ of f or ei g n r ul es. ” S e e I n r e N. A m. P ot as h ,

   N o. 1 2 -c v - 2 0 6 3 7 ( WI L LI A M S), 2 0 1 2           W L 1 2 8 7 7 8 1 6, at * 1 1 ( S. D. Fl a. N o v. 9, 2 0 1 2). R at h er,

   “t his f a ct or s u g g ests t h at a distri ct c o urt s h o ul d b e vi gil a nt a g ai nst a p etiti o n er’s att e m pt t o ‘r e pl a c e

   a [f or ei g n] d e cisi o n wit h o n e b y [ a U. S.] c o urt.’ ” I d. ( alt er ati o n i n ori gi n al).




   1
          W hil e I O V L a bs is u n a w ar e of a n y d e cisi o n a d dr essi n g t h e r e c e pti vit y of Gi br alt ar’s c o urts t o
       f or ei g n assist a n c e, c o urts a cr oss t h e c o u ntr y —i n cl u di n g i n t his Distri ct— h a v e r e p e at e dl y
       r e c o g ni z e d t h at t h e cl os el y r el at e d E n glis h c o urts w el c o m e e vi d e n c e o bt ain e d u n d er S e cti o n
       1 7 8 2. S e e, e. g. , I n r e E n gl a n d/ B a h a m as, N o. 2 0-m c - 6 1 6 9 6 ( S MI T H), 2 0 2 1 W L 3 2 7 0 0 7 4, at * 6
       n. 1 3 ( S. D. Fl a. J ul y 3 0, 2 0 2 1).


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             I O V L a bs h as m a d e n o s u c h att e m pt t o u n d er c ut d e cisi o ns r e n d er e d i n f or ei g n pr o c e e di n gs;

   i n d e e d, as n ot e d a b o v e, t h e pr o c e e di n gs t h at C o m pl ai n a nts h a v e d e ci d e d t o i niti at e a g ai nst I O V

   L a bs h a v e y et t o b e c o m m e n c e d . R at h er, I O V s e e ks d o c u m e nts f or us e i n t h os e c o nt e m pl at e d

   pr o c e e di n gs t h at it m a y n ot b e a bl e t o o bt ai n fr o m L e vi n vi a a n y ot h er m e a ns .               M or e o v er, if

   q u esti o ns l at er aris e a b o ut t h e a d missi bilit y of t h e dis c o v er y s o u g ht b y I O V L a bs u n d er D ut c h or

   Gi br alt ar l a w , t h os e q u esti o ns c a n b e a d dr ess e d f ull y b y t h e c o urts of t h os e j uris di cti o ns r e g ar dl ess

   of w h et h er t his C o urt gr a nts t h e A p pli c ati o n . As o n e c o urt h as e x pl ai n e d, “[s]i n c e f or ei g n c o urts

   c o ul d al w a ys r ul e u p o n t h e pr o pri et y of r eli a n c e o n e vi d e n c e o bt ai n e d t hr o u g h t h e c o o p er ati o n

   e xt e n d e d b y A m eri c a n c o urts w h e n it w as pr es e nt e d t o t h e m, t h e dr aft ers of s e cti o n 1 7 8 2 r e g ar d e d

   it as b ot h u n n e c ess ar y a n d u n d esir a bl e t o l et t h e pr o pri et y of dis c o v er y wit h t h e ai d of a n A m eri c a n

   c o urt d e p e n d o n dis c o v er a bilit y a n d a d missi bilit y u n d er f or ei g n l a w. ” E ur o m e p a S. A. v. R.

   Es m eri a n, I n c. , 5 1 F. 3 d 1 0 9 5, 1 1 0 1 ( 2 d Cir. 1 9 9 5) ( q u oti n g H a ns S mit, R e c e nt D e v s. i n I nt’l Liti g. ,

   3 5 S. T E X . L. R E V . 2 1 5, 2 3 5 – 3 6 ( 1 9 9 4)).

             4. T h e dis c o v er y s o u g ht i n t h e A p pli c ati o n a n d t h e S u b p o e n a is n ot u n d ul y b ur d e ns o m e.

             I O V L a bs s e e ks a n arr o w s et of d o c u m e nts a n d d e p ositi o n t esti m o n y o n t o pi cs li k el y t o b e

   r el e v a nt t o (or l e a d t o t h e dis c o v er y of ot h er e vi d e n c e r el e v a nt t o ) t h e c o nt e m pl at e d f or ei g n

   pr o c e e di n gs. ( S e e E x. B .) T h e v ast m aj orit y of d o c u m e nt r e q u ests i n t h e S u b p o e n a m er el y s e e k

   d o c u m e nts t h at M e g al o d o n   m a y us e t o s u bst a nti at e t h e l e g al cl ai ms wit h w hi c h it h as n o w

   t hr e at e n e d I O V L a bs f or n e arl y a y e ar— m at eri als t h at o n e w o ul d e x p e ct L e vi n a n d his c o u ns el

   h a v e alr e a d y c oll e ct e d i n li g ht of t h eir a p p ar e nt c oll a b or ati o n wit h M e g al o d o n . T h e r e m ai ni n g

   r e q u ests s e e k i nf or m ati o n r el ati n g t o c ert ai n d ef e ns es t h at m a y b e a v ail a bl e t o I O V L a bs i n t h e

   c o nt e m pl at e d f or ei g n pr o c e e di n gs. T h es e i n cl u de, f or e x a m pl e, d ef e ns es b as e d o n             L e vi n’s

   u n d erst a n di n g of t h e t er ms of t h e E C A a n d r el at e d tr a ns a cti o n d o c u m e nts , his a w ar e n ess of t h e us e

   of pr o c e e ds h e a n d t h e ot h er C o m pl ai n a nts n o w d eri d e as “fr a u d ul e nt, ” a n d his o w n c o n d u ct.


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             “ O n c e dis c o v er y is a ut h ori z e d u n d er § 1 7 8 2, t h e f e d er al dis c o v er y r ul es, F e d. R. Ci v. P.

   2 6 – 3 6, c o nt ai ns t h e r el e v a nt pr a cti c es a n d pr o c e d ur es f or t h e t a ki n g of t esti m o n y a n d t h e

   pr o d u cti o n of d o c u m e nts. ” I n r e Cl eri ci, 4 8 1 F. 3 d 1 3 2 4, 1 3 3 6 ( 1 1t h Cir. 2 0 0 7). R ul e 2 6 “ h as b e e n

   c o nstr u e d br o a dl y t o e n c o m p ass a n y m att er t h at b e ars o n, or t h at r e as o n a bl y c o ul d l e a d t o ot h er

   m att er t h at c o ul d b e ar o n, a n y iss u e t h at is or m a y b e i n t h e c as e. ” O p p e n h ei m er F u n d, I n c. v.

   S a n d ers , 4 3 7 U. S. 3 4 0, 3 5 1 ( 1 9 7 8). U n d er t h e F e d er al R ul es of Ci vil Pr o c e d ur e, r e q u ests t o

   pr o d u c e c a n b e dir e ct e d at a n y d o c u m e nt or t hi n g i n t h e p oss essi o n, c ust o d y, or c o ntr ol of t h e

   pr o d u ci n g p art y. F e d. R. Ci v. P. 2 6( b).

             Fi n all y, t h e f a ct t h at L e vi n m a y n e e d t o bri n g i nf or m ati o n i nt o t h e distri ct is n ot a b asis f or

   d e n yi n g t h e a p pli c ati o n; t o t h e c o ntr ar y, El e v e nt h Cir c uit l a w e x pr essl y p er mits t h e us e of S e cti o n

   1 7 8 2 t o s e e k a n y e vi d e n c e, r e g ar dl ess of l o c ati o n, fr o m a p ers o n w h o “r esi d es or is f o u n d ” i n t h e

   distri ct w h er e t h e a p pli c ati o n is fil e d . S e e S er g e e v a v. Tri pl et o n I nt’l Lt d. , 8 3 4 F. 3 d 1 1 9 4, 1 2 0 0

   ( 1 1t h Cir. 2 0 1 6) (h ol di n g t h at n ot hi n g i n S e cti o n 1 7 8 2 a p pli es t errit ori al li mit ati o ns b e y o n d t h os e

   i m p os e d b y r e g ul ar dis c o v er y r ul es, w hi c h r e q uir e pr o d u cti o n of e xtr at errit ori al d o c u m e nts);

   a c c or d I n r e E m er g e n c y E x P art e A p pli c ati o n of G o dfr e y , N o. 1 7 -c v - 2 1 6 3 1 ( C O O K E), 2 0 1 8 W L

   1 8 6 3 7 4 9, at * 1 1 ( S. D. Fl a. F e b. 2 2, 2 0 1 8) ( n oti n g t h at t h e “ El e v e nt h Cir c uit h as h el d ‘t h at t h e

   l o c ati o n of r es p o nsi v e d o c u m e nts a n d el e ctr o ni c all y st or e d i nf or m ati o n — t o t h e e xt e nt a p h ysi c al

   l o c ati o n c a n b e dis c er n e d i n t his di git al a g e— d o es n ot est a blis h a p er s e b ar t o dis c o v er y u n d er §

   1 7 8 2’ ” a n d t h at “[i]t is t h us w ell est a blis h e d i n t his Cir c uit t h at § 1 7 8 2 h as ‘ e xtr at errit ori al r e a c h’ ”

   ( cit ati o n o mitt e d)).

                                                             C O N C L U SI O N

             W H E R E F O R E, A p pli c a nt I O V L a bs Li mit e d pr a ys f or a n or d er of t his C o urt:

                   ( 1) gr a nti n g dis c o v er y u n d er S e cti o n 1 7 8 2, i n cl u di n g a d o c u m e nt a n d d e p ositi o n
                        s u b p o e n a as d et ail e d i n t h e pr o p os e d s u b p o e n a att a c h e d t o t his A p pli c ati o n;



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                   ( 2) or d eri n g t h at t h e u n d ersi g n e d c o u ns el b e a ut h ori z e d t o iss u e t h e s u b p o e n as att a c h e d
                        t o t his ap pli c ati o n t o o bt ai n s u c h dis c o v er y c o nsist e nt wit h t h e F e d er al R ul es of
                        Ci vil Pr o c e d ur e; a n d
                   ( 3) gr a nti n g s u c h ot h er a n d f urt h er r eli ef as t his C o urt d e e ms j ust a n d pr o p er.



   D at e d: Mi a mi, Fl ori d a
              J a n u ar y 1 7, 2 0 2 2

                                                                      R es p e ctf ull y s u b mitt e d,



                                                                      s/ A dri a n a Ri vi er e -B a d ell
                                                                      A dri a n a Ri vi er e -B a d ell ( Fl ori d a B ar No. 3 0 5 7 2)
                                                                      a dri a n a.ri vi er e - b a d ell @ k o br e ki m. c o m

                                                                      K O B R E & KI M L L P
                                                                      2 0 1 S Bis c a y n e Bl v d, S uit e 1 9 0 0
                                                                      Mi a mi, Fl ori d a 3 3 1 3 1
                                                                      3 0 5- 9 6 7- 6 1 1 7

                                                                      Att or n e ys f or A p pli c a nt I O V L a bs Li mit e d




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